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AsHEvn_LE, N,C_

UNITED STATES DISTRICT COURT

SOLUTIONS, INC.; TRANS UNION

LLC; EQUIFAX, INC.; EQUIFAX

INFORMATION SERVICES, LLC
Defendanz‘s

WESTERN DISTRICT oF NoRTH CARoLINA NUV 08 2018
ASHEVILLE DIVIsIoN
Clerk, U.S. Dist. Cour¢

) W. Dist. of N.C.
TERI LYNN HINKLE )
Plaintijj€ )

) Civil No= 1:18-cV-00007-MR-1)LH

vs )
)
EXPERIAN INFORMATION )
)
)
)
)

NOTICE OF INTENT TO FILE MOTION FOR DEFAULT JUDGMENT
Plaintiff Teri Lynn Hinkle hereby notifies the Court that she intends to continue
prosecuting her case by filing a Request for Clerk’s Default and Motion for Default Judgment by

November 7, 2018.

 

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Murphy, North Carolina 28906
828-494-2007
queensongbird@gmail.com

Notice of Intent to file Page 1 of 2

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of` the foregoing document Was sent to the parties listed
below by first class mail USPS.

Counsel for Defendant(s) Equifax Inc. & Equifax Information Services LLC
Bradley J. Lingo

King & Spalding LLP

300 South Tryon Street Ste. 1700

Charlotte, NC 28202

Dated November 7, 2018

 

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